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IN THE UNITED sTATES DISTRICT coURT '“ D'c'
FoR THE wEsTERN DISTRICT oF TENNESSEE ,
wEsTERN DIvISIoN 05 AUG 23 PH " "7

 

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UNITED sTATE F , CLEFK US;\ .;'¢'~:»H"»”!CT COURI
S o AMERICA wm G|L ; §MPHB
vS. No. 04-20409-Ma

DeMARCUS ROGERS ,

Defendant.

 

ORDER GRANTING MOTION FOR ISSUANCE OF
WRIT OF HABEAS CORPUS AD TESTIFICANDUM

 

Before the court is the August 16, 2005, motion of defendant
for an order directing the issuance of a writ of habeas corpus ad
testificandum. For good cause shown, the motion is granted. The
clerk is directed to issue a writ of habeas corpus ad
testificandum for Antonio Wallace, a/k/a Ralph Antonio Conrad,
R&I No. 000316849, presently confined at the Shelby County
Corrections Center (as number 05303913), 1045 Mullins Station
Road, Memphis, Tennessee, in order that he might testify in the
suppression hearing before this court on Friday, September 2,
2005 at 2:30 p.m.

So ORDERED this ‘q<day of August, 2005.

<QAJM/L,`

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 56 in
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Honorable Samuel Mays
US DISTRICT COURT

